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AO 106 (Rev . 04/ 10) Application for a Search Warrant



                                        UNITED STATES DISTRICT COURT
                                                                     for the
                                                           Southern District of Ohio

              In the Matter of the Search of                            )
         (Briefly describe the property to be searched                  )
          or identify the person by name and address)                   )          Case No. 2:22-mj-45
                    Brandon Jamal Campbell                              )
                     (M/B, DOB: 5/5/2001)                               )
                                                                        )

                                              APPLICATION FOR A SEARCH WARRANT
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):

  See Search Warrant Affidavit Attachment A, incorporated here by reference,
located in the              Southern
                    - - -- -- - -
                                                  District of               Ohio
                                                                - - - - - - - - - - -~
                                                                                               , there is now concealed (identify the
person or describe the property to be seized):

 See Search Warrant Affidavit Attachment B, incorporated here by reference.

          The basis for the search under Fed. R. Crim. P. 4 l(c) is (check one or more) :
               ~ evidence of a crime;
                 0 contraband, fruits of crime, or other items illegally possessed;
                 0 property designed for use, intended for use, or used in committing a crime;
                 0 a person to be arrested or a person who is unlawfully restrained.

          The search is related to a violation of:
             Code Section                                                          Offense Description

        18 USC§ 2114 (a)                            Robbery of mail, money, or other property of the United States

          The application is based on these facts:
        See Search Warrant Affidavit, incorporated here by reference.

           ~ Continued on the attached sheet.
           0 Delayed notice of _ _ days (give exact ending date if more than 30 days: - - - - - ) is requested
             under 18 U.S.C. § 3103a, the basis of which is set forth on the a ched sheet.




                                                                               Mark V. Massaro, United States Postal Inspector
                                                                                              Printed name and title

Sworn to before me and signed in my presence.


Date:        January 26, 2022

City and state: Columbus, Ohio
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                   AFFIDAVIT IN SUPPORT OF SEARCH WARRANT

I, Mark V. Massaro, being duly sworn, state as follows:

   1. I am a U.S. Postal Inspector with the U.S. Postal Inspection Service in Columbus, Ohio,
      and have been so employed since August 2013. I am a sworn federal law enforcement
      officer empowered to investigate criminal activity involving or relating to the United States
      Postal Service ("USPS") and/or U.S. Mail. The crimes investigated include those such as
      theft, burglary, counterfeiting, robbery, assault, homicide, dangerous mailings, narcotics,
      identity theft, and fraud. I received initial training for these types of investigations through
      the U. S. Postal Inspection Service, Basic Inspector Training. I have received additional
      on the job training for each of my assigned investigative functions.

   2. This affidavit is based on personal knowledge derived from my participation in this
      investigation, as well as information provided to me by other law enforcement officers and
      witnesses.

   3. This affidavit is submitted in support of an order authorizing the search of Brandon Jamal
      Campbell's person, and does not set forth all my knowledge about this matter.

                                PERSON TO BE SEARCHED

   4. This affidavit is provided in support of applications for a search warrant authorizing the
      collection of deoxyribonucleic acid ("DNA") to be collected by use of a buccal swab from
      the person of Brandon Jamal Campbell, male/black, with a date of birth 5/5/2001, and FBI
      Number FCX73PCPH. Campbell is currently detained on federal felony charges in the
      Franklin County Jail, located at 370 South Front Street, Columbus, Ohio, which is within
      the Southern District of Ohio. Campbell is being held pending trial for violations of
      Title 18, United States Code, Section 2114(a)- robbery of mail, money, or other property of
      the United States.

                           DETAILS OF THE INVESTIGATION

   5. On September 8, 2021, at approximately 01:30PM EST, a USPS Letter Carrier
      ("Victim # 1") was delivering mail in the Vistas at Rocky Fork apartment complex in
      Gahanna, Ohio. Victim #1 had been delivering in the complex for approximately two
      hours. As Victim #1 was approaching a bank of mailboxes in front of 947 Vista Drive, he
      observed two unknown black males. One was wearing a yellow hoodie with black Adidas
      athletic pants (Suspect # 1). The other was wearing a black hoodie and similar dark pants
      (Suspect #2). Both suspects were wearing black full-face masks, commonly referred to as
      a balaclava. Victim #1 reported that both suspects were in their late teens to early twenties
      and had slim builds.


   6. As Victim #1 began to open the mailbox at 947 Vista Drive, he heard footsteps suddenly
      approaching him from behind. Suspect #1 reached over Victim #1 's right side/shoulder
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   and pushed him aside with his left hand. Suspect #1 was holding a green handgun in his
   right hand, which he braced against the wall area about the mailboxes as he was
   simultaneously pushing Victim #1 aside with his left hand. Victim #1 described the
   handgun as being like a Glock.

7. Victim #1 backed slightly away as Suspect #1 withdrew the key from the mailbox. Suspect
   #1 then demanded the key to Victim #1 's postal vehicle. Victim #1 retrieved his postal
   vehicle key and gave it to Suspect #1. Victim #1 reported that Suspect #2 was standing
   back some distance while Suspect #1 took the keys from him. Both suspects then ran
   towards the northern portion of the apartment complex. Victim #1 ran back towards his
   postal vehicle which he had left parked in front of 571 Vista Drive.

8. A maintenance employee in the area during the robbery observed two African American
   males, one wearing a yellow hooded sweatshirt, get into a "champaign colored 4 door sedan
   and pull away from carport area # 165." Based on the information given, Gahanna Police
   Crime Analyst Roush was able to identify a possible suspect vehicle leaving the area at the
   time of the robbery on traffic cameras. Gahanna Detective Glunt used the image of a
   champagne-colored Saturn Aura to compare to the apartment complex surveillance camera
   footage. Detectives were able to identify a possible suspect vehicle based on this
   information. The suspect vehicle had distinctive after-market rims and an illegible
   temporary license plate on the rear.

9. Gahanna Detectives and Postal Inspectors used records provided by the Ohio Bureau of
   Motor Vehicles to identify all champagne-colored Saturn Auras registered in the
   Columbus, Ohio area. Using law enforcement resources, a vehicle with matching rims,
   make, and model was located at 89 Eastpointe Ridge Drive belonging to Brandon Jamal
   Campbell. Campbell has a prior criminal record for receiving stolen property, obstructing
   official business, and improper handling of a firearm.

10. Gahanna Detective Thomas wrote a vehicle GPS warrant for the Saturn Aura belonging to
    Campbell. The vehicle GPS warrant was signed on September 10, 2021, by Franklin
    County Municipal Court Judge Andrea Peeples. Postal Inspectors located the vehicle at
    89 Eastpointe Ridge Drive, Columbus, Ohio, and installed the GPS tracking device on
    September 15, 2021.

11. Continuing on September 15, 2021, Gahanna Police Detectives observed and photographed
    Campbell in and out of the vehicle in the area of 3583 Cypress Club Way in the Gardens
    Apartments. Campbell was wearing black shorts, a white t-shirt, and a black balaclava
    style full-face mask. Detective Thomas contacted Victim #1 after seeing Campbell
    wearing the balaclava mask. A google image of a similar balaclava mask was sent to
    Victim #1 to determine the similarity in the facial covering. Victim #1 reported that the
    image matched the one that the suspect was wearing at the time of the robbery.

12. On September 16, 2021, Postal Inspectors were notified that a different USPS Letter
    Carrier ("Victim #2") was robbed while delivering mail at approximately 02:50PM EST
    near 4500 Hemingway Court, Columbus, Ohio. Victim #2 stated that the suspects

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    demanded his postal keys and brandished a tan firearm. The suspects of the robbery were
    described as two black males, in their teens to mid-twenties, possibly shirtless, wearing
    dark pants and full-face masks with slits for eyes. Gahanna Detectives were able to pull
    GPS data from the tracking device that had been installed on the Saturn Aura and observed
    Campbell's vehicle near 4500 Hemingway Court around 02:40 PM EST.

13. Gahanna Detectives and Postal Inspectors used GPS data to locate the vehicle following
    the robbery. The vehicle was located near the robbery site on Noe Bixby Road, in an
    apartment complex on Cedar Drive, Columbus, Ohio. Two black males were observed
    shirtless in the car attempting to leave the area. Postal Inspectors attempted to stop them
    utilizing lights and sirens. Both suspects exited the vehicle and ran into 5200 Cedar Drive
    Apartment G, Columbus, Ohio. One suspect was seen leaving the area on foot, running
    from officers towards Interstates 270 and 70. Suspected narcotics were seen in plain view
    inside of the vehicle they fled from, along with a gold iPhone cellular phone.

14. The same day, Gahanna Police Detective Thomas wrote a search warrant application for
    the residence of 5200 Cedar Drive Apartment G, which was approved by Franklin County
    Municipal Court Judge Andrea Peeples. The search warrant was executed by Gahanna
    Division of Police detective bureau members and United States Postal Inspectors. A black
    male (Subject #1) was located inside. Subject #1 was not one of the individuals seen
    fleeing the scene. Subject #1 confirmed that Campbell had been inside the apartment. The
    confirmation was made after being shown an image of Campbell. While searching the
    apartment, officers located a black balaclava above the fridge, in addition to four handguns.
    Two of the handguns recovered were tan in color.

15. Campbell's Saturn Aura was towed to the Gahanna Police Department following the
    incident. A search warrant was then executed on the suspect vehicle. Inside the vehicle,
    officers found a gold iPhone. On September 22, 2021, Franklin County Municipal Court
    Judge Cindi Morehart approved a search warrant to examine the contents of that phone. A
    full-file system extraction was later completed on the iPhone. User info contained the
    iPhone showed that it belonged to Campbell. Location data in the system extractions show
    that Campbell's phone was located at or around 94 7 Vista Drive on September 8, 2021, at
    approximately 01 :27PM EST. Additionally, location data in the system extractions show
    that Campbell's phone was located at or around 4500 Hemmingway Court on September
    16, 2021, at approximately 02:32PM EST.

16. Detective Thomas submitted the black balaclava mask seized from 5200 Cedar Drive,
    Apartment G, to the Ohio Bureau of Criminal Investigation laboratory for DNA analysis.
    On November 09, 2021, a lab report showed a possible investigative lead between a DNA
    sample taken from the black balaclava mask and a DNA profile for Campbell on file with
    the Combined DNA Index System ("CODIS"). Further forensic analysis is required to
    determine whether the DNA sample from the black balaclava mask matches a known
    sample from Campbell.
17. On December 14, 2021, a grand jury returned a two-count indictment against Campbell,
    charging him with robbery of mail, money, or other property of the United States, in



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    violation of Title 18, United States Code, Section 2114(a), for the robberies of Victim # 1
    and Victim #2 described above, in Southern District of Ohio Case Number 2:21-CR-245 .



18. Based on my training, experience, and consultation with forensic experts, I know that:
    DNA is a molecular material found in virtually all cells of the body. DNA from a person' s
    blood is the same as DNA from the person's semen, saliva, or other tissue. The DNA
    analysis performed in forensic laboratories examines multiple genetic markers. The
    compilation of the results for each marker is called a genetic profile. It is possible to obtain
    DNA typing results from stains that are barely visible or objects that have been merely
    handled by an individual. A genetic profile developed from a crime scene or evidentiary
    sample can then be compared with reference samples from the individuals allegedly
    connected to the incident. A forensic expert can conclude, with reasonable scientific
    certainty, that DNA obtained from a crime scene or from recovered evidence does or does
    not match that of a known individual. Reference samples are commonly collected by
    means of a buccal swab, a method by which a sterile swab is used to collect the cell samples
    from the inside of an individual's cheek.

                                      CONCLUSION

19. Based on the information set forth in this affidavit, I submit there is probable cause to
    believe that the individual identified as Brandon Jamal Campbell violated Title 18, United
    States Code, Section 2114(a) - that is, robbery of mail, money, or other property of the
    United States. In light of the facts outlined above and my training and experience in the
    investigation of robberies and related crimes, I believe there is a fair probability that,
    contained inside of Brandon Jamal Campbell, there is evidence of the aforementioned
    violations. More specifically, I respectfully submit there is probable cause to obtain buccal
    (cheek) swabs from Campbell for the purpose of obtaining a reference sample of his DNA
    for further comparison to the DNA sample(s) taken from the black balaclava mask seized
    in connection with a search of 5200 Cedar Drive, Apartment G.

20. I request this Application be sealed until further order of the Court. As detailed above, this
    affidavit discusses an ongoing criminal investigation and contains information about
    victims and witnesses to the crimes. Accordingly, there is good cause to seal these
    documents because their premature disclosure may seriously jeopardize that investigation
    and the safety of victims and witnesses.




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                                                    United States Postal Inspector



                                    26th
Subscribed and sworn to before me this___ day of January, 2022.




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                                     ATTACHMENT A
                               Person or Property to be Searched

      The body of Brandon Jamal Campbell, further identified as male, black, with a date of birth
of May 5, 2001, currently located in the Franklin County Jail, Columbus, Ohio.




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                                       ATTACHMENT B
                                        Items to be Seized

       Based upon the information provided above; I have probable cause to believe that now
contained in the body of Brandon Jamal Campbell (M/B, DOB: 5/5/2001), are items described
below that constitute evidence of violations of Title 18, United States Code, Section 2114(a):

   •   Saliva, and or topical or oral skin cells, to be obtained by means of an oral swab.




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